             Case 3:16-bk-02230-PMG               Doc 1249        Filed 10/31/18         Page 1 of 19



                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

    In re:                                                          Case No. 3:16-bk-02230-PMG

    RMS TITANIC, INC., et al.,1                                     Chapter 11 (Jointly

                                                                    Administered)

      Debtors.


       THIRD INTERIM APPLICATION FOR ALLOWANCE AND PAYMENT OF
     COMPENSATION AND REIMBURSEMENT OF EXPENSES OF CARR, RIGGS &
     INGRAM LLC AS TAX ADVISORS TO DEBTORS FOR SERVICES RENDERED
               FROM JUNE 1, 2018 THROUGH SEPTEMBER 30, 2018

                              NOTICE OF OPPORTUNITY
                        TO OBJECT AND REQUEST FOR HEARING

         Pursuant to Local Rule 2002-4, the Court will consider relief requested in this
      paper without further notice or hearing unless a party in interest files an objection
      within twenty-one (21) days from the date set forth on the attached proof of
      service, plus an additional three days for service if any party was served by U.S.
      Mail.
         If you object to the relief requested in this paper, you must file a response with
      the Clerk of the Court at Bryan Simpson United States Courthouse, 300 North
      Hogan Street, Suite 3-150, Jacksonville, Florida 32202, and serve a copy on the
      Debtors’ attorney, Daniel F. Blanks, Esq., Nelson Mullins Riley & Scarborough
      LLP, 50 N. Laura Street, Suite 4100, Jacksonville, Florida 32202, and any other
      appropriate persons within the time allowed. If you file and serve a response
      within the time permitted, the Court will either schedule and notify you of a
      hearing, or consider the response and grant or deny the relief requested without a
      hearing.
         If you do not file a response within the time permitted, the Court will consider
      that you do not oppose the relief requested in the paper, will proceed to consider
      the paper without further notice or hearing, and may grant the relief requested.




1
 The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp.
(7309). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.
           Case 3:16-bk-02230-PMG               Doc 1249       Filed 10/31/18        Page 2 of 19



Name of Applicant:                                   Carr, Riggs & Ingram LLC
Services Provided to:                                RMS Titanic, Inc. and certain of its affiliates,
                                                     as Debtors and Debtors in possession
Date of Retention:                                   April 2017
Period for this Application:                         June 1, 2018 Through September 30, 2018
Amount of Compensation Sought:                       $20,819.50
Amount of Expense Reimbursement:                     $22.64
Amount of Original N/A                               Current Balance:      N/A
Retainer:
Blended Hourly           $166.02                     Cumulative:               $160.17
Rate this
Application:
This is an interim or final application:             Interim


Prior Applications Filed:

                                    Requested                        Approved             Paid        Holdback

Filed     Period   Fees            Hrs.    Blended     Exps.     Fees       Exps.     Total
                                           Rate
          6/1/17
3/1/18            $63,392.70 403.1 $157.27 $537.41 Pending Pending $53,330.112 $10,600.00
         through
         1/31/18
          2/1/18
6/27/18          $25,069.00 149.2 $168.02 $106.43 Pending Pending     0.00     $25,069.00
         through
         5/31/18
      Total        $88,461.7 552.3 $160.17 $643.84 Pending Pending $53,330.11 $35,669.00



         Carr, Riggs & Ingram LLC (the “Applicant”), as tax advisors to RMS Titanic, Inc. and

certain of its affiliates, as Debtors and Debtors in Possession (the “Debtors”), pursuant to Section

330 of Title 11 of the United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”) and

Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), hereby

files its Third Interim Application for Allowance and Payment of Compensation and

Reimbursement of Expenses of Carr, Riggs & Ingram LLC as Tax Advisors to Debtors for


2
 This amount was paid to the Applicant pursuant to the August 17, 2016 Order Granting Motion to Establish
Procedures to Permit Monthly Payment of Interim Fee Applications of Chapter 11 Professionals [D.E. 141].


                                                       2
               Case 3:16-bk-02230-PMG        Doc 1249      Filed 10/31/18     Page 3 of 19



Services Rendered From June 1, 2018 Through September 30, 2018 (the “Application”) for

professional services rendered and expenses incurred by Applicant during the period of June 1,

2018 Through September 30, 2018 (the “Application Period”). In support thereof, the Applicant

states:

                   RETENTION OF APPLICANT AND REQUESTED AWARD

          1.       This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(A). Venue is proper

before this Court pursuant to 28 U.S.C. § 1408. The statutory predicates for the relief requested

herein are sections 328, 330, 331 and 503(b) of the Bankruptcy Code.

          2.       On June 14, 2016 (the “Petition Date”), the Debtors each filed a voluntary petition

in this Court for relief under chapter 11 of the Bankruptcy Code, commencing the above-

captioned case (the “Bankruptcy Case”).

          3.       On April 28, 2017, the Debtors submitted the Application to Employ the firm of

Carr, Riggs & Ingram LLC as tax advisors for the Debtors [D.E. 566] (the “Application to

Employ”). The Application to Employ was granted via order of this Court on May 26, 2017

[D.E. 604].

          4.       On October 26, 2017, the Debtors submitted the Debtors’ Supplemental

Application for Entry of an Order Authorizing Employment and Retention of Carr, Riggs &

Ingram LLC as Tax Advisors to the Debtors in Possession Nunc Pro Tunc to September 7, 2017

[D.E. 799] (the “Supplemental Application”). The Supplemental Application was granted via

order of this Court on December 11, 2017 [D.E. 848] expanding the scope of the Debtors’

retention and employment of the Application as tax advisors for the sale of all or some

combination of a portion of the Debtors’ assets.




                                                    3
                  Case 3:16-bk-02230-PMG       Doc 1249       Filed 10/31/18    Page 4 of 19



             5.       Subsequent to the Debtors’ Application for employment, the Debtors filed its

      Motion to Establish Procedures to Permit Monthly Payment of Interim Fee Applications of

      Chapter 11 Professionals [D.E. 89] which was approved by the Court’s Order entered on August

      17, 2016 [D.E. 141] (the “Compensation Order”).

             6.       The Applicant submits this Application, pursuant to Sections 328, 330, 331 and

      503(b) of the Bankruptcy Code, Bankruptcy Rule 2016 and the Guidelines of the United States

      Trustee (the “Guidelines”). The Applicant requests an interim award of fees incurred by the

      Applicant for services rendered, as tax advisors to the Debtors, in the amount of $20,819.50 and

      reimbursement for the actual and necessary expenses incurred by the Applicant during the

      Application Period in the amount of $22.64; comprised of fee statements issued to the Debtors

      pursuant to the Compensation Order as follows:

                                                                                          Total Fees &
     Debtor           Invoice No.        Month                 Fees      Expenses          Expenses
Premier Exhibition
Management, LLC          16487449 June 2018                $1,340.00           $0     $1,340.00
Premier Exhibition
Management, LLC          16503843 July 2018                $756.50             $0     $756.50
Premier Exhibition
Management, LLC          16534007 September 2018           $8,103.50           $0     $8,103.50

Premier
Exhibitions, Inc.        16487446 June 2018                $5,850.00           $0     $5,850.00
Premier
Exhibitions, Inc.        16504289 July 2018                $3,026.50       $9.87      $3,036.37
Premier
Exhibitions, Inc.        16534023 September 2018           $1,055.50           $0     $1,055.50

Dinosaurs
Unearthed Corp.          16503776 July 2018                $687.50        $12.77      $700.27


             7.       This request is the Applicant’s third interim application to the Court for

      compensation and reimbursement of expenses for services rendered as tax advisors to the



                                                       4
             Case 3:16-bk-02230-PMG       Doc 1249       Filed 10/31/18    Page 5 of 19



Debtors. No understanding exists between the Applicant and any other person for the sharing of

compensation sought by the Applicant, except among the partners and associates of the

Applicant.

        In accordance with the Guidelines, the following exhibits are annexed to this Application:

        Exhibit 1:       Summary of Professional Time;

        Exhibit 2:       Summary of Professional Time by Task Category;

        Exhibit 3:       Summary and Breakdown of Requested Reimbursement of Expenses and
                         Disbursements; and

        Exhibit 4:       Detailed Description of the Services Rendered and Expenses and
                         Disbursements.

        8.       The Applicant has expended a total of 125.4 hours during the Application Period

in rendering necessary and beneficial services to the Debtors. Exhibit 1 contains a list of the

Applicant’s professionals who have provided services to the Debtors during the Application

Period, the hourly rate charged by each and a summary of time expended by each. Exhibit 2

contains a summary of professional time by task.          Exhibit 3 contains a summary of the

Applicant’s total actual and necessary out-of-pocket expenses and disbursements, on behalf of

the Debtors, for which the Applicant seeks reimbursement in accordance with Section 330(a)(2)

of the Bankruptcy Code, the Bankruptcy Rules and the Guidelines.               The expenses and

disbursements summarized in Exhibit 3 are those which the Applicant typically would invoice to

its non-bankruptcy clients. Exhibit 4 contains: (i) a daily description of the services rendered and

the hours expended by the various professionals of the Applicant who performed services in this

case; and (ii) a detailed schedule of the expenses and disbursements for which the Applicant

seeks reimbursement. The Applicant has prepared Exhibit 4 based on, among other things,

contemporaneous daily time records maintained by the Applicant’s professionals who rendered

services in this case.


                                                 5
            Case 3:16-bk-02230-PMG            Doc 1249   Filed 10/31/18     Page 6 of 19



                                         BACKGROUND

       9.       The factual background regarding the Debtors, including their business

operations, capital and debt structure, and the events leading to the filing of this bankruptcy case,

are set forth in detail in the Chapter 11 Case Management Summary [D.E. 8] (the “Case

Summary”).

       10.      The Debtors continue to manage and operate their business as debtors in

possession under Bankruptcy Code sections 1107 and 1108.

       11.      On August 24, 2016, the United States Trustee appointed an Official Committee

of Unsecured Creditors and an Official Committee of Equity Security Holders [D.E. 166, 167].

                       INDEXING OF TASKS BY ACTIVITY CODES

       12.      As set forth in the Exhibits to this Application, the Applicant has organized its

time records into the categories listed below.

       A.       2015 and 2016 Income Tax Returns

       The Applicant provided tax services to the Debtors including gathering information and

reconciliation of accounts and preparation and review of the Debtors’ 2015 and 2016 income tax

returns.

       The Applicant expended a total of 14.7 hours in this category and is requesting $2,096.50

for the services rendered in this category.

       B.       Reconciliation and Review of 2017 Tax Returns and Penalty Abatement Response
                for IRS Tax Notices

       The Applicant provided tax services to the Debtors including gathering information and

reconciliation of accounts and preparation and review of 2017 tax returns and penalty abatement

response for IRS tax notices.




                                                  6
            Case 3:16-bk-02230-PMG            Doc 1249   Filed 10/31/18   Page 7 of 19



       The Applicant expended a total of 49.5 hours in this category and is requesting $8,103.50

for the services rendered in this category.

       C.       2015 and 2016 Income Tax Returns Reconciliation and Potential Section 382
                Event

       The Applicant provided tax services to the Debtors including gathering information and

reconciliation of accounts and preparation and review of the Debtors 2015 and 2016 income tax

returns and reconciliation and potential section 382 event.

       The Applicant expended a total of 48.4 hours in this category and is requesting $8,876.50

for the services rendered in this category.

       D.       Reconciliation and Review of 2017 Tax Returns and Penalty Abatement Response
                for NY Tax Notices

       The Applicant provided tax services to the Debtors including gathering information and

reconciliation of accounts and preparation and review of 2017 tax returns and penalty abatement

response for NY tax notices.

       The Applicant expended a total of 8.2 hours in this category and is requesting $1,055.50

for the services rendered in this category.

       E.       Reconciliation of Accounts and Preparation of 2017 Returns

       The Applicant provided tax services to the Debtors including gathering information and

reconciliation of accounts and preparation and review of 2017 tax returns.

       The Applicant expended a total of 4.6 hours in this category and is requesting $687.50 for

the services rendered in this category.

                        EVALUATION OF SERVICES RENDERED;
                         FIRST COLONIAL CONSIDERATIONS

       13.      This Application has presented the nature and extent of the professional services

the Applicant has rendered in connection with its representation of the Debtors for which the



                                                  7
          Case 3:16-bk-02230-PMG          Doc 1249     Filed 10/31/18     Page 8 of 19



Applicant seeks compensation. The recitals set forth in the daily diaries attached hereto

constitute only a summary of the time spent. A mere reading of the time summary annexed

hereto alone cannot completely reflect the full range of services the Applicant rendered and the

complexity of the issues and the pressures of time and performance which have been placed on

the Applicant in connection with these cases.

        14.    American Benefit Life Ins. Co. v. Baddock (In re First Colonial Corp.), 544 F.2d

1291 (5th Cir. 1977), enumerates twelve factors a bankruptcy court should evaluate in awarding

fees.   First Colonial remains applicable in the Eleventh Circuit to the determination of

reasonableness of fees to be awarded under the Bankruptcy Code. Grant v. George Schumann

Tire & Battery Co., 908 F.2d 874 (11th Cir. 1990); Collier on Bankruptcy, 330.05[2] [a] at 330-

33 through 330-37 (L. King 15th ed. 1991); see also Bonner v. City of Prichard, 661 F.2d 1206,

1209 (11th Cir. 1981). The twelve factors are:

        (1)    The time and labor required;
        (2)    The novelty and difficulty of the questions presented;
        (3)    The skill required to perform the legal services properly;
        (4)    The preclusion from other employment by the attorney due to acceptance of the
               case;
        (5)    The customary fee for similar work in the community;
        (6)    Whether the fee is fixed or contingent;
        (7)    The time limitations imposed by the client or circumstances;
        (8)    The amount involved and results obtained;
        (9)    The experience, reputation and ability of the attorneys;
        (10)   The undesirability of the case;
        (11)   The nature and length of the professional relationship with the client; and
        (12)   Awards in similar cases.

First Colonial, 544 F.2d at 1298-99.

        15.    Based on the standards set forth in Section 330 of the Bankruptcy Code and First

Colonial, the Applicant believes that the fair and reasonable value of its services rendered during

the period covered by this Application is $20,819.50 plus expenses of $22.64.




                                                 8
         Case 3:16-bk-02230-PMG           Doc 1249      Filed 10/31/18   Page 9 of 19



       A.      Time, Nature and Extent of Services Rendered, Results Obtained and
               Related First Colonial Factors

       16.     The foregoing summary, together with the exhibits attached hereto, details the

time, nature and extent of the professional services of the Applicant rendered for the benefit of

the estates during the period covered by this Application. The total number of hours expended,

149.2 hours, reveals the extensive time devoted to this matter by the Applicant on a vast

spectrum of issues which have arisen in this case during the period covered by this Application.

         B.     Novelty and Difficulty of Questions Presented

       17.     The issues that have arisen in this case during the period encompassed by this

Application demanded a high level of skill. The Applicant spent considerable time reviewing

documents and the Debtors’ operations.

         C.     Skill Requisite to Perform Services Properly

       18.     In rendering services to the Debtors, the Applicant demonstrated substantial skill

and expertise in the areas of tax and accounting services.

       D.      Preclusion from Other Employment by Professional due to Acceptance of
               Case

       19.     The Applicant has devoted substantial time in the representation of the Debtors as

more fully appears on Exhibit 1. The Applicant is aware of no other specific employment that

was precluded as a result of its accepting this case, but had the Applicant not accepted this

employment, the time spent in this case would have been spent on other matters that would pay

an hourly compensation on a current basis.

         E.    Customary Fee

       20.     The hourly rate charged by the Applicant as set forth in Exhibits 1 and 2 ranges

from $65 to $470, which is customary for professionals of similar skill and experience.




                                                 9
         Case 3:16-bk-02230-PMG           Doc 1249      Filed 10/31/18      Page 10 of 19



       21.     The hourly rate charged for professionals who worked on this case are as follows:

                                           Professionals
                                 Name                  Hourly Rate
                       B. Edwards                $65.00
                       J. Allen                  $65.00
                       M. King                   $65.00
                       C. Cartee                 $110.00
                       K. Peniston               $150.00
                       D. Berman                 $300.00
                       C. Clayton                $360.00
                       D. Stein                  $470.00


       F.      Whether Fee is Fixed or Contingent

       22.     The Applicant’s compensation in this matter is subject to approval of the Court

and is, therefore, contingent. The Court should consider this factor, which militates in favor of a

fee award in the amount requested. The amount requested is consistent with what the Applicant

would charge its clients in other non-contingent, bankruptcy and commercial cases.

       G.      Time Limitations Imposed by Client or Other Circumstances

       23.     The circumstances of this case occasionally imposed serious time constraints on

the Applicant due to the necessity for rapid resolution of significant issues.

       H.      Experience, Reputation and Ability of Professionals

       24.     The Applicant is an established accounting firm and its members and associates

working on this case are experienced in matters of this kind. The Applicant enjoys a fine

reputation and has demonstrated substantial ability in the fields of state and federal tax issues and

bankruptcy issues.

         I.    “Undesirability” of Case

       25.     This case is not undesirable. The Applicant is privileged to have the opportunity

to represent the Debtors.


                                                 10
        Case 3:16-bk-02230-PMG          Doc 1249      Filed 10/31/18     Page 11 of 19



       J.     Nature and Length of Professional Relationship with Client

       26.    The Debtors and Applicant’s professional relationship began on June 1, 2016.

       K.     Awards in Similar Cases

       27.    The amount requested by the Applicant is reasonable in terms of awards in cases

of similar magnitude and complexity. The compensation that the Applicant requests comports

with the mandate of the Bankruptcy Code, which directs that services be evaluated in light of

comparable services performed in non-bankruptcy cases in the community.

                                       CONCLUSION

       WHEREFORE, the Applicant respectfully requests the Court to enter an order (i)

awarding it the sum of $20,819.50 as compensation for services rendered, and $22.64 as

reimbursement for actual and necessary expenses incurred during the course of the Applicant’s

representation of the Debtors during the Application Period; (ii) authorizing and directing the

Debtor to pay the Applicant 100% of the compensation in the amount of $20,819.50 and 100%

of Costs in the amount of $22.64 for a total amount of $20,842.14 less any amounts paid to

date, representing the aggregate fees and costs sought by the Applicant herein; and (iii)

granting such other and further relief as the Court deems appropriate.



                                [Signature on following page]




                                               11
       Case 3:16-bk-02230-PMG   Doc 1249    Filed 10/31/18   Page 12 of 19



Dated: October 31, 2018            Respectfully submitted,




                            NELSON MULLINS RILEY
                            & SCARBOROUGH LLP


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                                     12
     Case 3:16-bk-02230-PMG          Doc 1249     Filed 10/31/18     Page 13 of 19




                            CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was
electronically filed with the Clerk of the Court using CM/ECF on October 31, 2018. I
also certify that the foregoing document is being served this day on the following counsel
of record via transmission of Electronic Filing generated by CM/ECF:

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   Case 3:16-bk-02230-PMG            Doc 1249   Filed 10/31/18    Page 14 of 19




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    Case 3:16-bk-02230-PMG            Doc 1249   Filed 10/31/18   Page 15 of 19




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    Case 3:16-bk-02230-PMG            Doc 1249   Filed 10/31/18   Page 16 of 19




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    Case 3:16-bk-02230-PMG    Doc 1249   Filed 10/31/18   Page 17 of 19




Via U.S. Mail

A-1 Storage and Crane                ABC Imaging
2482 197th Avenue                    5290 Shawnee Road, Suite 300
Manchester, IA 52057                 Alexandria, VA 22312

A.N. Deringer, Inc.                  ATS, Inc.
PO Box 11349                         1900 W. Anaheim Street
Succursale Centre-Ville              Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                       CBS Outdoor/Outfront Media
30 Rockefeller Plaza                 185 US Highway 48
54th Floor                           Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                   Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor          709 Miner Avenue
Vancouver, BC V6C 3R8                Scarborough, ON M1B 6B6

Expedia, Inc.                        George Young Company
10190 Covington Cross Drive          509 Heron Drive
Las Vegas, NV 89144                  Swedesboro, NJ 08085
Gowlings                             Hoffen Global Ltd.
550 Burrard Street                   305 Crosstree Lane
Suite 2300, Bental 5                 Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications           MNP LLP
5230 W. Patrick Lane                 15303 - 31st Avenue
Las Vegas, NV 89118                  Suite 301
                                     Surrey, BC V3Z 6X2

Morris Visitor Publications          NASDAQ Stock Market, LLC
543 Broad Street                     805 King Farm Blvd.
Augusta, GA 30901                    Rockville, MD 20850

National Geographic Society          NYC Dept. of Finance
1145 - 17th Avenue NW                PO Box 3646
Washington, DC 20036                 New York, NY 10008
   Case 3:16-bk-02230-PMG         Doc 1249   Filed 10/31/18    Page 18 of 19




PacBridge Limited Partners               Pallet Rack Surplus, Inc.
22/F Fung House                          1981 Old Covington Cross Road NE
19-20 Connaught Road                     Conyers, GA 30013
Central Hong Kong

Screen Actors Guild                      Seaventures, Ltd.
1900 Broadway                            5603 Oxford Moor Blvd.
5th Floor                                Windemere, FL 34786
New York, NY 10023

Sophrintendenza Archeologica             Syzygy3, Inc.
di Napoli e Pompei                       231 West 29th Street
Piazza Museo 19                          Suite 606
Naples, Italy 80135                      New York, NY 10001

Time Out New York                        TPL
405 Park Avenue                          3340 Peachtree Road
New York, NY 10022                       Suite 2140
                                         Atlanta, GA 30326

TSX Operating Co.                        Verifone, Inc.
70 West 40th Street                      300 S. Park Place Blvd.
9th Floor                                Clearwater, FL 33759
New York, NY 10018

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   Case 3:16-bk-02230-PMG        Doc 1249    Filed 10/31/18   Page 19 of 19




Dallian Hoffen Biotechnique Co., Ltd.     AEG Presents LLC
c/o Ezra B. Jones                         c/o Managing Member
305 Crosstree Lane                        5750 Wilshire Blvd.
Atlanta, GA 30328                         Suite 501
Creditor Committee                        Los Angeles, CA 90036-3638

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